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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                        )
RICHARD BLUMENTHAL et al.,              )
                                        )
                            Plaintiffs, )
                                        )
v.                                      )   Case No. 18-2143
                                        )
U.S. NATIONAL ARCHIVES AND RECORDS )
ADMINISTRATION et al.,                  )
                                        )
                          Defendants. )

         MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION
 FOR A TEMPORARY RESTRAINING ORDER OR PRELIMINARY INJUNCTION
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       In August 2018, Plaintiffs, who are members of the Committee on the Judiciary of the

United States Senate (“Judiciary Committee”), submitted Freedom of Information Act (“FOIA”)

requests to the National Archives and Records Administration (“NARA”), including the George

W. Bush Presidential Library and Museum (“Bush Library”), and to the Central Intelligence

Agency (“CIA”). These requests sought records relating to the career of Judge Brett Kavanaugh,

who has been nominated to the United States Supreme Court and whose Senate confirmation

hearings began on September 4, 2018 and concluded on September 7, 2018. The records

Plaintiffs seek are essential for them to inform the public about Judge Kavanaugh, to engage in

an exchange of information and views with those constituents regarding the nomination, and for

them and their colleagues in the Senate to fulfill their constitutional “advice and consent” duties.

Disclosure of these records is also critical to inform the public regarding a pivotal lifetime

appointment to the nation’s highest court. Plaintiffs attempted to obtain these records through

traditional Senate practices and procedures, but their colleagues in the Senate majority declined

to seek whole categories of documents directly relevant to Judge Kavanaugh’s nomination. The

resulting process has broken all norms and defied past practices, leaving Plaintiffs in the

extraordinary and unprecedented position of relying on their rights under FOIA as a last resort.

That is why Plaintiffs must vindicate their rights to these records—on behalf of themselves and

their constituents—through this litigation.

       Judge Kavanaugh brings to his nomination a lengthy career demanding thorough public

scrutiny, and materials that reveal the non-public record of his activities before his appointment

to the federal bench hold high value for ensuring the public is appropriately informed. His

nomination has provoked extensive media interest, and the circumstances surrounding his

selection and the Senate’s accelerated consideration of his nomination raise questions affecting
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the public’s confidence in the integrity of the executive branch that appointed him, the Senate

whose majority party is racing to confirm him, and the highest court to which he could be

appointed without the robust scrutiny due nominees seeking to serve in the position. Defendants’

failures to meet their FOIA obligations threatens to deprive the Senate and the public it

represents of the information necessary to ensure that Judge Kavanaugh’s potential appointment

receives rigorous, informed debate. Given these concerns and the rapidly approaching

confirmation proceedings, Plaintiffs seek to compel Defendants to comply with their obligations

under FOIA to make a determination regarding Plaintiffs’ FOIA requests as required by the

statute, and to promptly produce responsive, non-exempt material. Plaintiffs also seek to compel

NARA to process their request on an expedited basis. Both the Constitution and tradition entitle

Plaintiffs to the records they seek, and where their efforts to obtain them through customary

practices have failed, these Senators now seek these records through the rights FOIA affords

them and every citizen. The issues presented in this case are not complicated political questions

but simple and straightforward applications of the FOIA statute, though the harm Plaintiffs

would suffer from being denied their rights under FOIA both encompass and transcend those of

the typical FOIA plaintiff. The Senate and the American public have a brief opportunity to sift

the record of Judge Kavanaugh’s public career before the Senate is expected to make an

effectively irreversible decision that would shape the federal judiciary for decades, and the

individual Senators have a unique platform to probe and publicize Judge Kavanaugh’s record.

Plaintiffs seek immediate injunctive relief to protect their vital constitutional interests and the

interests of the public they serve.

                                      STATEMENT OF FACTS

       On August 8, 2018, Plaintiffs submitted identical FOIA requests to NARA and the Bush

Library, each seeking:


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                     1) Records from Mr. Kavanaugh’s service as a Senior Associate
                        Counsel to the President, including all records preserved in his staff
                        files, and those records created by Mr. Kavanaugh that can readily
                        be found in the files of other White House staff members, the White
                        House Counsel’s Office files, other White House offices’ files, and
                        the Subject Matter Files maintained by the Staff Secretary and/or the
                        White House Office of Records Management;

                     2) Records from Mr. Kavanaugh’s service as Assistant to the President
                        and Staff Secretary, including all records preserved in his staff files,
                        and those records created by Mr. Kavanaugh that can readily be
                        found in the files of other White House staff members, the White
                        House Counsel’s Office files, other White House offices’ files, and
                        the Subject Matter Files maintained by the Staff Secretary and/or the
                        White House Office of Records Management;

                     3) Records relating to Mr. Kavanaugh’s nomination to the United
                        States Court of Appeals for the District of Columbia Circuit;

                     4) All electronic mail to, from, carbon copying (cc’ing), or blind
                        carbon copying (bcc’ing) Mr. Kavanaugh in his White House
                        tenure, including any documents attached to such emails;

                     5) To the extent they are not included in response to categories (1)
                        through (4), all records containing documents written by, edited by,
                        prepared in whole or in part by, under the supervision of, or at the
                        direction of Mr. Kavanaugh, as well as documents referencing Mr.
                        Kavanaugh by name, initials, or title, and documents received by or
                        sent to him.

Compl. ¶¶ 9-10, 18-19, ECF No. 1; Ex.1 A at 1-2; Ex. B at 1-2; Declaration of Sam Simon

(“Simon Decl.”) ¶¶ 6, 8, 12, 14.

          Also on August 8, 2018, Plaintiffs submitted a similar FOIA request to CIA. This request

sought:

          (1)     All records, including but not limited to emails, memoranda, print or
                  other correspondence, notices, attachments, and directives addressed
                  to, from, carbon copying (cc'ing), or blind carbon copying (bcc'ing)
                  Mr. Kavanaugh.




1
    Lettered exhibits referenced herein are attached to the Complaint.


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       (2)     All records, including but not limited to emails, memoranda,
               correspondence, notices, and directives, discussing or mentioning
               Mr. Kavanaugh.

       (3)     Records relating to Mr. Kavanaugh's nomination to the United States
               Court of Appeals for the District of Columbia Circuit.

       (4)     To the extent they are not included in response to categories (1)
               through (3), all record containing documents written by, edited by,
               prepared in whole or part by, under the supervision of, or at the
               direction of Mr. Kavanaugh, as well as documents referencing Mr.
               Kavanaugh by name, initials, or title, and documents received by or
               sent to him.

Compl. ¶¶ 31-32; Ex. C at 1; Simon Decl. ¶¶ 20-21.

       With regard to the request to NARA, Plaintiffs also sought expedited processing of their

request, on the basis that it involves a “matter of widespread and exceptional media interest in

which there exist possible questions that affect public confidence in the Government’s integrity.”

36 C.F.R. § 1250.28(a)(4). Plaintiffs cited several points in support of their request for

expedition. For example, they noted that the media “has been covering the nomination process

with vigor” and observed that the media has noted concerns over certain of Judge Kavanaugh’s

remarks of “questionable veracity;” criticism of Judge Kavanaugh’s reputation as a “highly

conservative, partisan lawyer;” the role of the right-wing Federalist Society in “pre-vett[ing]”

Judge Kavanaugh for this nomination; extensive support for Judge Kavanaugh from “dark

money” sources; Judge Kavanaugh’s various roles in the George W. Bush Administration,

including his involvement in policies surrounding torture and detention; and misleading

statements Judge Kavanaugh made during his D.C. Circuit confirmation proceedings regarding

his service in the Bush Administration. Ex. A at 2-3. Plaintiffs also noted that the unprecedented

speed and opacity with which the White House and the Senate majority leadership are handling

such a crucial nomination—which risks depriving the public and the Senate of the opportunity to




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fully consider Judge Kavanaugh’s records and the concerns described above—poses a threat to

public confidence in the integrity of all three branches of the federal government. Id. at 3-4.

         On August 8, 2018, NARA acknowledged receipt of Plaintiff’s request by email. Simon

Decl. ¶ 9 & Ex. 1. As of the date of this filing, Plaintiffs have received no further

communications from NARA (apart from the Bush Library communications noted below)

regarding their FOIA request. Simon Decl. ¶ 10.

         On August 9, 2018, the Bush Library acknowledged receipt of Plaintiff’s request,

assigned it the tracking number 2018-0263-F, and granted Plaintiffs’ request for expedited

processing. Simon Decl. ¶ 15 & Ex.2 2. On September 12, 2018, the Bush Library provided a

response concerning the portion of the portion of Plaintiff’s request seeking records related to

Judge Kavanaugh’s nomination to the United States Court of Appeals for the District of

Columbia Circuit. Simon Decl. ¶ 18 & Ex. 4. This response did not address the other portions of

Plaintiff’s request. See id.

         By letter dated August 17, 2018, CIA acknowledged receipt of Plaintiff’s request,

assigned it the tracking number F-2018-02283. Simon Decl. ¶ 22 & Ex. 5.

                                           ARGUMENT

         Judge Kavanaugh was nominated to replace Justice Anthony Kennedy on the Supreme

Court of the United States on July 9, 2018, and Senate Republicans have rapidly pursued his

confirmation, holding hearings beginning on September 4, 2018 and ending on September 7,

2018.3 Plaintiffs’ FOIA requests seek records concerning Judge Kavanaugh’s past public service,


2
    Numbered exhibits referenced herein are attached to the Simon Declaration.
3
 See, e.g., Seung Min Kim, Kavanaugh Hearing for Supreme Court Seat to Be Held in
September, Wash. Post, Aug.10, 2018, https://www.washingtonpost.com/politics/kavanaugh-
hearing-for-supreme-court-seat-to-be-held-in-september/2018/08/10/f66cbea8-9cd6-11e8-b55e-
5002300ef004_story.html?utm_term=.b42ea55668a0.


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which are highly relevant to the evaluation of his nomination, including each senator’s

engagement with constituents on this issues and each senator’s deliberations regarding how to

vote on the nomination.

       Judicial opinions reflecting Judge Kavanaugh’s tenure as a federal judge are readily

available, but equally important records reflecting his credentials and conduct prior to his

appointment to the federal bench are not. Yet Senator Grassley, the Chairman of the Judiciary

Committee on which Plaintiffs serve, has declined to request Judge Kavanaugh’s full record,

conspicuously omitting records concerning Judge Kavanaugh’s time as Staff Secretary to

President George W. Bush.4 However, as Plaintiff Senator Whitehouse has pointed out, “Judge

Kavanaugh said himself his time as President Bush’s Staff Secretary was ‘in many ways among

the most instructive’ for his career as a judge.”5 Certainly, to the extent any records from this

time period reflect the role played by Judge Kavanaugh—and his views and advice to President

Bush—on any number of important and contentious issues, they are highly relevant to the

confirmation process. Examples include any records reflecting Judge Kavanaugh’s role or

participation on issues such as the rights and treatment of enemy combatants, the use of torture,

and indefinite detentions at a facility in Guantanamo Bay, Cuba, as well as a questionable

warrantless-wiretapping program.6


4
 Jordain Carney, Grassley Requests Some But Not All of Kavanaugh Papers at Bush White
House, The Hill (July 27, 2018, 6:57 PM), http://thehill.com/blogs/floor-action/senate/399296-
grassley-request-some-but-not-all-of-kavanaugh-papers-at-bush-white.
5
  See Jennifer Rubin, The Senate Must Prevent Kavanaugh’s Nomination from Corrupting the
Supreme Court, Wash. Post, July 30, 2018, https://www.washingtonpost.com/blogs/right-
turn/wp/2018/07/30/the-senate-must-prevent-kavanaughs-nomination-from-corrupting-the-
supreme-court/?utm_term=.8a1e391a074f.
6
  Several members of the Senate have expressed concerns that Judge Kavanaugh provided
misleading, or even false, answers on these topics at his confirmation hearings for his current
seat on the U.S. Court of Appeals for the D.C. Circuit. See, e.g., David A. Graham, How
Kavanaugh’s Last Confirmation Hearing Could Haunt Him, The Atlantic, July 17, 2018,


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       Given the exigency of this nomination, the widespread media interest in it, the impact

that a lifetime appointee will have on American jurisprudence, and the clear questions of

government integrity involved both in Judge Kavanaugh’s past government service and in the

Senate’s and the White House’s handling of his nomination, Plaintiffs have an urgent need for

the records they have requested. Facing a careening confirmation process, Plaintiff Senators now

ask the Court to enjoin Defendants from irreparably harming both Plaintiffs and the public

interest through their failure to make a determination on the requests as required by law and the

resulting wrongful withholding of records. Plaintiffs further ask the Court to enjoin NARA from

irreparably harming both Plaintiffs and the public interest by wrongfully failing to process

Plaintiffs’ request on an expedited basis.

       Plaintiffs meet the requirements for a temporary restraining order, or in the alternative,

preliminary injunctive relief. Indeed, if informing the public regarding an imminent lifetime

appointment to the Supreme Court and ensuring that the public is able to meaningfully

participate in a vital public debate and that senators are able to execute their constitutional duty

to provide informed, sound advice and consent with regard to that appointment fail to qualify for

such relief, it is hard to imagine what would. Plaintiffs are likely to succeed in establishing that

they are entitled to a determination regarding the records they have requested and that they are

entitled to expedited processing of their request to NARA. Moreover, anything less than

immediate relief requiring Defendants to process Plaintiffs’ FOIA requests, make the statutorily-

required determination, and promptly produce the requested records would irreparably harm

Plaintiffs’ ability to obtain and use the requested records to inform the public debate, engage




https://www.theatlantic.com/politics/archive/2018/07/how-kavanaughs-last-confirmation-
hearing-could-haunt-him/565304/.


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with their constituents, and perform their constitutional responsibilities. The requested injunction

would not harm Defendants’ interests or the interests of the general public; in fact, promptly

processing these requests is entirely consistent with their obligations under FOIA and would

bolster the public interest, both by dramatically enhancing the public’s ability to evaluate a

nominee for the Supreme Court; to participate in public debate in an informed manner and to

convey opinions to their senators; and to empower their senators to represent them accurately in

the confirmation process and by affirming the integrity of the Senate through robust and

transparent vetting of a critical lifetime appointment. Because all four of the relevant factors

weigh in Plaintiffs’ favor, this Court should grant the requested injunctive relief compelling

Defendants to process Plaintiff’s requests and promptly produce non-exempt, responsive records

and compelling NARA to do so on an expedited basis.

I.      THIS COURT HAS JURISDICTION TO GRANT THE REQUESTED RELIEF.

        The FOIA statute itself provides jurisdiction for this Court to consider this matter and

grant all necessary injunctive relief. It states:

                On complaint, the district court of the United States . . . in the
                District of Columbia, has jurisdiction to enjoin the agency from
                withholding agency records and to order the production of any
                agency records improperly withheld from the complainant. . . . In
                such a case the court shall determine the matter de novo.

5 U.S.C. § 552(a)(4)(B). That review explicitly extends to an agency’s denial or inaction on a

request for expedited processing: FOIA states that “[a]gency action to deny or affirm denial of a

request for expedited processing pursuant to this subparagraph, and failure by an agency to

respond in a timely manner to such a request shall be subject to judicial review under

paragraph (4).” 5 U.S.C. § 552(a)(6)(E)(iii); see also Al-Fayed v. CIA, 254 F.3d 300, 308 (D.C.

Cir. 2001) (“a district court must review de novo an agency’s denial of a request for expedition

under FOIA”). When an agency fails to comply with the applicable time-limit provisions in the


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FOIA statute, a requester “shall be deemed to have exhausted his administrative remedies with

respect to such request.” 5 U.S.C. § 552(a)(6)(C); see also Oglesby v. Dep’t of Army, 920 F.2d

57, 62 (D.C. Cir. 1990) (holding that a requester may bring suit if an agency fails to comply with

statutory time limits). Plaintiffs have therefore exhausted all applicable administrative remedies,

and this claim is ripe for adjudication.

II.    PLAINTIFFS ARE ENTITLED TO A TEMPORARY RESTRAINING ORDER,
       OR IN THE ALTERNATIVE, A PRELIMINARY INJUNCTION.

       In considering a plaintiff’s request for injunctive relief, a court must weigh four factors:

(1) whether the plaintiff has a substantial likelihood of success on the merits; (2) whether the

plaintiff would suffer irreparable injury absent injunctive relief; (3) whether an injunction would

substantially injure other interested parties; and (4) whether the grant of an injunction would

further the public interest. Al-Fayed, 254 F.3d at 303; Serono Labs., Inc. v. Shalala, 158 F.3d

1313, 1317-18 (D.C. Cir. 1998); see also Lofton v. District of Columbia, 7 F. Supp. 3d 117, 120

(D.D.C. 2013) (“In determining whether to issue a temporary restraining order, the Court must

apply the same standard that is applied to preliminary injunctions.”). Consideration of these

factors here demonstrates Plaintiffs’ entitlement to injunctive relief.

       A.      Plaintiffs are Likely to Succeed on the Merits.

       FOIA provides clear statutory directives to agencies in responding to FOIA requests, and

those requirements have been violated by Defendants in this case. Consequently, there can be

little doubt that Plaintiffs will ultimately prevail in demonstrating their entitlement to expedited

processing and to a timely determination on their FOIA requests and prompt disclosure of any

non-exempt responsive records.




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         1.    Plaintiffs Are Entitled to Expedited Processing of Their Request to NARA
               Because the Records Sought Pertain to a Matter That Raises Questions
               About the Government’s Integrity that Affect Public Confidence.

       There is no dispute that Plaintiffs are entitled to expedited processing of their FOIA

request to NARA. Even NARA, by way of its component, the Bush Library, has admitted as

much, by granting expedited processing of Plaintiffs’ FOIA request to the Bush Library. See

Simon Decl. ¶ 15 & Ex. 2.

       And yet NARA has improperly failed to grant expedited processing of Plaintiffs’ FOIA

request. See Simon Decl. ¶ 10. The FOIA statute provides that “[e]ach agency shall promulgate

regulations . . . providing for expedited processing of requests for records (I) in cases in which

the [requester] demonstrates a compelling need; and (II) in other cases determined by the

agency.” 5 U.S.C. § 552(a)(6)(E)(i)(I)-(II). In its implementing regulations, NARA provides four

reasons to grant expedited processing, including when a request involves “[a] matter of

widespread and exceptional media interest in which there exist possible questions that affect

public confidence in the government’s integrity.” 36 C.F.R. § 1250.28(a)(4). Had NARA

properly reviewed and evaluated Plaintiffs’ request, it would have granted expedition.

       There can be little doubt that the first requirement of section 1250.28(a)(4), that the

records requested relate to “[a] matter of widespread and exceptional media interest,” applies in

this case. From Justice Kennedy’s retirement and speculation as to his replacement to Judge

Kavanaugh’s nomination to widespread controversy surrounding access to documents in

preparation for his confirmation hearings, Judge Kavanaugh’s prospects as a Supreme Court

Justice have been a regular part of the daily news cycle for months. See Elec. Privacy Info. Ctr.

v. U.S. Dep’t of Justice (“EPIC”), 416 F. Supp. 2d 30, 34, 40-41 (D.D.C. 2006) (finding there

was “great public and media attention” in the relevant matter in case where plaintiff noted that




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“hundreds of local and national media organizations reported on this matter throughout the

United States this morning”); see also, e.g., Ex. A at 3-4. As Plaintiffs noted in their FOIA

request to NARA, “[t]he media has been covering the nomination process with vigor and

concern over” Judge Kavanaugh’s background, participation in controversial activities during his

tenure in the George W. Bush Administration, potentially false statements he has made in the

past, and the circumstances of his nomination and confirmation proceedings. Id. at 3.

       The second requirement of section 1250.28(a)(4), that the matter in question may “affect

public confidence in the government’s integrity,” clearly applies, as well. As Plaintiffs described

in their FOIA request, the media’s attention to Judge Kavanaugh’s nomination has focused not

just on his potential appointment to the highest court in the country, an historic event in and of

itself, but on significant questions surrounding his record, service, and character, as well as the

considerable controversy surrounding the nature of his nomination. Ex. A at 3. For instance, the

media has focused on false and misleading statements Judge Kavanaugh has made, regarding his

nomination itself, and more concerningly, his role in the Bush Administration’s torture and

detention and warrantless-wiretapping programs. Id. at 3 & n.6. Another troubling subject of

media reporting has been the circumstances of Judge Kavanaugh’s nomination, including that he

was reportedly pre-vetted by the conservative Federalist Society, and the dark money campaign

to support his nomination. Id. at 3.

       Such questions concerning a Supreme Court nominee’s professional background and

honesty; his possible participation in controversial government programs of questionable

legality; and the reliability of his nomination process itself, surely qualify as questions that affect

public confidence in the government’s integrity. Cf. ACLU v. Dep’t of Justice, 321 F. Supp. 2d

24, 32 (D.D.C. 2004) (expedited processing warranted where media attention was focused on




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potential civil liberties abuses implicating questions of government’s integrity). Indeed, the

integrity of each branch of government is implicated, from the White House where Judge

Kavanaugh served, to the one that nominated him through questionable procedures, to the Senate

that may vote on his confirmation without the benefit of his full record, to the Supreme Court to

which he may be appointed without adequate scrutiny. See Ex. A at 3.

       There is therefore a strong likelihood that Plaintiffs will succeed in establishing that

NARA should have granted Plaintiffs’ request for expedited processing under 36 C.F.R.

§ 1250.28(a)(4).

         2.    Plaintiffs Are Entitled to Prompt Processing of the Requested Records.

       As a clear matter of established law, Plaintiffs are entitled to the swift processing of their

FOIA requests, a timely determination by the agencies on whether they will grant or deny the

requests, and the prompt production of any non-exempt responsive records. FOIA clearly and

unambiguously provides that federal agencies must make records “promptly available to any

person” who reasonably describes the records they seek in accordance with established

procedures. 5 U.S.C. § 552(a)(3)(A); see also 5 U.S.C. § 552(a)(6)(A)(i). Moreover, FOIA

requires that agencies disclose records to Congress that might otherwise be withheld from the

public. 5 U.S.C. § 552(d).

       As an initial matter, Defendants have clearly not satisfied FOIA’s requirement that they

comply “promptly” with Plaintiffs’ requests. Once Plaintiffs submitted their FOIA requests to

Defendants, Plaintiffs were entitled to a determination by each agency as to the scope of the

records that would be produced within twenty working days. 5 U.S.C. § 552(a)(6)(A)(i); Citizens

for Responsibility and Ethics in Wash. v. Fed. Election Comm’n, 711 F.3d 180, 182-83 (D.C. Cir.

2013) (“[T]he agency must at least indicate within the relevant time period the scope of the




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documents it will produce and the exemptions it will claim with respect to any withheld

documents.”). That deadline has passed, and Defendants have yet to provide the statutorily

required detail concerning when the requests will be processed, or the scope of the material to be

produced. Compl. ¶¶ 17, 29-30, 36; Simon Decl. ¶¶ 10, 19, 23. Indeed, Defendants have yet to

produce any responsive records to Plaintiffs, aside from the materials provided by the Bush

Library to only one out of five portions of Plaintiffs’ Bush Library FOIA request. Simon Decl. ¶¶

11, 19, 24.7

       Furthermore, the material Plaintiffs seek—agency correspondence with or about Judge

Kavanaugh, records maintained by the agencies concerning Judge Kavanaugh or his appellate

court nomination, and documents maintained by the agencies to which Judge Kavanaugh

contributed—undoubtedly comprise materials within the statutory category of agency records

that an agency must produce under FOIA. See U.S. Dep’t of Justice v. Tax Analysts, 492 U.S.

136, 144-45 (1989) (defining “agency records” as materials “create[d] or obtain[ed]” by the

agency and within the agency’s control at the time the request is made); Exs. A-C.8 In addition,

each request “reasonably described” the records sought (specifying the timeframe for the request



7
  The Bush Library had also notified Plaintiffs of certain documents previously posted to the
Bush Library’s website in response to a separate FOIA request, but provided no detail as to the
scope of the records available or their responsiveness to Plaintiffs’ specific FOIA requests.
Simon Decl. ¶ 16 & Ex. 2.
8
  To the extent Defendants consider any records responsive to Plaintiffs’ requests to be governed
by the Presidential Records Act (“PRA”), 44 U.S.C. § 2201 et seq., such records should
nevertheless “be administered in accordance with [FOIA]” and made available to Plaintiff
Senators, see id. §§ 2201(a), 2201(b)(2)(A), (c)(1) (presidential records are subject to FOIA five
years after archivist receives them absent affirmative restrictions imposed by President); id.
§ 2205(2)(B) (restricted records “shall be made available” to Congress and its committees); cf.
5 U.S.C. § 552(d). At a minimum, Plaintiffs are entitled to Defendants’ prompt determination on
the applicability of the PRA and existence of any restrictions. See Tax Analysts, 492 U.S. at 142
n.3 (noting it is the agency’s burden to establish “that the materials sought are not ‘agency
records’ or have not been ‘improperly’ ‘withheld’”).


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and describing categories of documents sought) and complied with all necessary procedures. See

Exs. A-C. Plaintiffs are therefore more than likely to succeed in establishing their entitlement to

a determination regarding the requested records and prompt production of any non-exempt

responsive records.

       Plaintiffs will ultimately prevail in demonstrating their entitlement to expedited

processing, a timely determination, and prompt disclosure of any non-exempt records responsive

to their FOIA requests. FOIA provides clear statutory directives to agencies in responding to

FOIA requests, and Defendants have violated them. In the meantime, Plaintiffs urgently needs

Defendants to fulfill their obligations. Judge Kavanaugh’s confirmation hearings have

concluded. A vote on his nomination is imminent. Time is of the essence.

       B.      Plaintiffs Will Be Irreparably Harmed Absent the Requested Relief.

       Plaintiffs will be harmed irreparably if Defendants do not promptly process their

requests, make the required determinations, and disclose any non-exempt responsive material,

especially if further delays prevent disclosure of these records until after the Senate has voted on

Judge Kavanaugh’s nomination. Only a temporary restraining order or preliminary injunctive

relief can address this urgent need and the specter of irretrievably losing Plaintiff Senators’ rights

under FOIA and their opportunity to marshal all information necessary to inform their

constituents and the general public, as well as to fulfill their constitutional duty. As this Circuit

has long held, “stale information is of little value.” Payne Enters., Inc. v. United States, 837 F.2d

486, 494 (D.C. Cir. 1988).

       Judge Kavanaugh’s nomination has triggered the exigency Congress envisioned in

crafting FOIA’s expedition provisions. Only accelerated review by this Court can ensure that

Plaintiffs’ requests are properly processed, preserving the opportunity for Plaintiffs to obtain

requested records while their value to Plaintiffs and to the public remains high. As this Court has


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previously noted, “[t]o afford the plaintiff less than expedited judicial review would all but

guarantee that the plaintiff would not receive expedited agency review of its FOIA request.”

Wash. Post v. Dep’t of Homeland Sec., 459 F. Supp. 2d 61, 66 (D.D.C. 2006); see also EPIC,

416 F. Supp. 2d at 40-41 (“[T]he statutory right to expedition in certain cases underlined

Congress’ recognition of the value in hastening release of certain information. As [the plaintiff]

correctly notes, the loss of that value constitutes a cognizable harm. As time is necessarily of the

essence in cases like this, such harm will likely be irreparable.” (internal citations and quotation

marks omitted)). Failure to expedite processing of the requests will irreparably harm the ability

of Plaintiff Senators—and of their colleagues—to use the requested information to inform the

public and to contribute to a robust public debate—including a dialogue with their own

constituents—and to conduct a conscientious review of Judge Kavanaugh’s record and its

implications for the future of the United States Supreme Court prior to casting a vote.

       Delay in processing the request will irreparably harm the ability of Plaintiffs and the

public to obtain information in time to inform the public discussion of Judge Kavanaugh’s record

and its implications for the future of the United States Supreme Court. Losing the ability to

review Judge Kavanaugh’s record and to draw upon a thorough public debate would also hamper

Plaintiffs in their constitutional duty to provide advice and consent to the president in connection

with appointments of Supreme Court justices. U.S. Const. art II, § 2. The records Plaintiffs seek

possess unique value while Judge Kavanaugh’s nomination is pending and is a subject of

widespread public debate, and that value will deteriorate when the Senate makes its decision on

Judge Kavanaugh’s nomination and the public debate ends.

       Plaintiff Senators also have a vested interest in the vigorous give-and-take between them

and their constituents. Our system of representative democracy depends upon an informed




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citizenry. That principle animates FOIA. NLRB v. Robbins Tire & Rubber Co., 437 U.S. 214,

242 (1978) (“[t]he basic purpose of FOIA is to ensure an informed citizenry, vital to the

functioning of a democratic society, needed to check against corruption and to hold the

governors accountable to the governed.”). A healthy confirmation process requires public access

to relevant information, which constituents regularly use to form opinions about nominees and

convey those opinions to their senators and to inform their votes in congressional elections.

Members of the public cannot reliably fulfill their role or meaningfully participate in the process

without adequate information on which to base their opinions, and this deficit impairs senators’

ability to represent their constituents faithfully in Washington. In light of the Senate Majority

Leader’s announced commitment to fast-track a decision on Judge Kavanaugh’s nomination,

Court intervention to ensure prompt disclosure is necessary to ensure that senators and the public

have the information they need to participate in an informed discourse—now—about his legal

career and qualifications for a lifetime appointment to the nation’s highest court. Only such

intervention will empower the Senate to discharge its constitutional responsibility in a manner

that preserves public confidence and inform the public to the extent demanded by our

democracy.

       This case is therefore much like Washington Post v. Department of Homeland Security,

in which the plaintiff sought visitor logs for the Vice President’s office and residence, which the

plaintiff asserted would “assist the public in the degree to which lobbyists and special interest

representatives may have influenced policy decisions of the Bush administration.” 459 F. Supp.

2d at 65 (internal quotation marks omitted). The plaintiff explained that “[w]ith the midterm

elections looming, any delay in processing this request would deprive the public of its ability to

make its views known in a timely fashion.” Id. Issuing its opinion in October of 2006, this Court




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concluded that “[b]ecause the urgency with which the plaintiff makes its FOIA request is

predicated on a matter of current national debate, due to the impending election, a likelihood for

irreparable harm exists if the plaintiff’s FOIA request does not receive expedited treatment.” Id.

at 75.9 The same is true here, with the Senate majority rushing to confirm Judge Kavanaugh

before the upcoming midterm elections in November. The nomination has attracted widespread

media and public interest and general recognition that the Senate’s decision on his nomination

has the potential to alter the balance of the Supreme Court and the future of its jurisprudence on

fundamental constitutional questions for decades.10 The window for Plaintiff Senators to help

educate the public regarding this nomination and to ensure that their own conduct with regard to

it draws upon the feedback of their constituents will be open only briefly, and it is imperative

that Plaintiffs receive the records they seek before that window closes. See Elec. Frontier Found.

v. Office of the Dir. of Nat’l Intelligence, 542 F. Supp. 2d 1181, 1187 (N.D. Cal. 2008)

(“Although, and perhaps because, the Court cannot predict the timing of passage of the

legislation in light of the ongoing debate in the legislature and with the Administration, the Court

finds that delayed disclosure of the requested materials may cause irreparable harm to a vested



9
  In subsequent, unrelated litigation, the D.C. Circuit held that White House visitor logs are not
“agency records” for purposes of FOIA. See Judicial Watch v. U.S. Secret Service, 726 F.3d 208,
228-29 (D.C. Cir. 2013). However, nothing in that decision affects this Court’s analysis
regarding irreparable harm in Washington Post v. Department of Homeland Security, 459 F.
Supp. 2d 61 (D.D.C. 2006).
10
   See, e.g., Stephen Jessee & Neil Malhotra, The Chart That Shows the Supreme Court Will Be
Out of Step With the Country, N.Y. Times, July 12, 2018,
https://www.nytimes.com/2018/07/12/opinion/kavanaugh-supreme-court-right.html (arguing that
“[i]f Judge Brett Kavanaugh joins the Supreme Court, it will mark a sharp move to the right”);
Oliver Roeder & Amelia Thomson-DeVeaux, How Brett Kavanaugh Would Change The
Supreme Court, FiveThirtyEight (July 9, 2018, 9:34 PM),
https://fivethirtyeight.com/features/how-brett-kavanaugh-would-change-the-supreme-court/;
Brian Bennett, How Brett Kavanaugh Could Change the Supreme Court—and America, Time,
July 12, 2018, http://time.com/5336621/brett-kavanaugh-supreme-court/.


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constitutional interest in ‘the uninhibited, robust, and wide-open debate about matters of public

importance that secures an informed citizenry.’”) (quoting N.Y. Times Co. v. Sullivan, 376 U.S.

254, 270 (1964)).

       Indeed, by now it is almost axiomatic that “stale information is of little value.” Payne,

837 F.2d at 494; accord Calderon v. U.S. Dep’t of Ag., 236 F. Supp. 3d 96, 114 (D.D.C. 2017);

see also Dunlap v. Presidential Advisory Comm’n on Election Integrity, 286 F. Supp. 3d 96, 110

(D.D.C. 2017) (“District courts in this circuit have recognized that, where an obligation to

disclose exists, plaintiffs may suffer irreparable harm if they are denied access to information

that is highly relevant to an ongoing public debate.” (citing Wash. Post, 459 F. Supp. 2d at 75;

EPIC, 416 F. Supp. 2d at 41)). Thus, “failure to process FOIA requests in a timely fashion is

‘tantamount to denial.’” Wash. Post, 459 F. Supp. 2d at 74 (quoting H.R. Rep. No. 93-876, at 6

(1974)). That is no doubt why courts in this jurisdiction have repeatedly issued injunctive relief

in FOIA cases where the requester seeks information urgently needed to inform a pending or

developing situation. See, e.g., id. at 74-75 (finding irreparable harm where requested records

could inform public opinion in advance of upcoming election); EPIC, 416 F. Supp. 2d at 40-41

(finding irreparable harm where requested records related to “current and ongoing debate

surrounding the legality of the Administration’s warrantless surveillance program”); Leadership

Conf. on Civil Rights v. Gonzales, 404 F. Supp. 2d 246, 260 (D.D.C. 2005) (finding urgency

requirement for expedition satisfied based on “upcoming expiration of the special provisions of

the Voting Rights Act in 2007”); Aguilera v. FBI, 941 F. Supp. 144, 151-52 (D.D.C. 1996)

(finding irreparable harm where requested records related to prisoner’s challenge to conviction

while already serving prison sentence); Cleaver v. Kelley, 427 F. Supp. 80, 81-82 (D.D.C. 1976)

(granting preliminary injunction for records needed for upcoming criminal trial); cf. Sai v.




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Transp. Sec. Admin., 54 F. Supp. 3d 5, 10-11 (D.D.C. 2014) (finding no irreparable harm

because plaintiff offered no evidence that requested records would be of “vital public interest for

an upcoming congressional election or congressional or agency decision-making process

requiring public input” (internal citations and quotation marks omitted)).

       As in many of those cases, Plaintiff Senators’ ability to enhance the public’s

understanding of the qualifications of the nominee to the Supreme Court, to engage in a give-

and-take with their constituents regarding the nomination, and their ability to exercise their

constitutional obligations based on a complete picture of the nominee’s background and their

constituents’ wishes will be irreparably harmed if Defendants are not required to process

Plaintiffs’ requests promptly and disclose any non-exempt responsive records—and, in the case

of NARA, to expedite that process. Plaintiffs seek judicial intervention to ensure Defendants will

comply with their obligations.

       C.      The Requested Relief Will Not Burden Others’ Interests.

       The Senate, the public, and Defendants are aligned in their mutual strong interest in the

disclosure and review of Judge Kavanaugh’s record. Defendants themselves cannot claim to be

harmed by an order compelling them to comply with their statutory obligations. Indeed, the

government generally has already recognized that Judge Kavanaugh’s nomination demands

review of his lengthy record and that that review will require allocation of additional resources.11

Where the government has already conceded the extraordinary value of these and similar records




11
   See, e.g., Katie Benner, Rosenstein Asks Prosecutors to Help With Kavanaugh Papers in
Unusual Request, N.Y. Times, July 11, 2018,
https://www.nytimes.com/2018/07/11/us/politics/rosenstein-kavanaugh-document-review-
prosecutors.html.


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and marshalled resources for their review, Plaintiffs’ request for expedited processing and

production would not meaningfully increase its burden.

       Nor would granting Plaintiffs relief unduly burden other FOIA requesters. The whole

purpose of the addition of the expedited processing provision in 1996 was to prioritize requesters

with an urgent need for information. See EPIC, 416 F. Supp. 2d at 36 (explaining 1996

amendment adding expedited processing requirements). Thus, Congress itself contemplated that

certain requesters would go to the head of the queue upon a showing of compelling need—as

Plaintiffs have done, and as the Bush Library has agreed they have done. See Ex. A at 2–4; Ex. B

at 2–4; Decl. ¶ 15 & Ex. 2. The urgency is no less real for the records sought from NARA or

from CIA.12 Thus, an order from this Court that Defendants promptly process Plaintiffs’

requests, make a determination as required by law, and provide any non-exempt responsive

records on an accelerated schedule set by this Court will not harm the interests of the non-

moving party or any other entity.

       D.      The Public Interest Favors the Requested Relief.

       A temporary restraining order or preliminary injunction is indispensable to protect the

public’s essential interests in government transparency and its opportunity for informed and

meaningful participation in the Senate confirmation process.

       First, courts in this jurisdiction have long recognized that “there is an overriding public

interest . . . in the general importance of an agency’s faithful adherence to its statutory mandate.”

Jacksonville Port Auth. v. Adams, 556 F.2d 52, 59 (D.C. Cir. 1977); accord Wash. Post, 459 F.



12
   CIA’s regulations do not include the basis for expedited processing on which Plaintiffs relied
in their applications to other agencies, and Plaintiffs did not request expedite processing from
CIA. Nonetheless, the time-sensitivity of Plaintffs’ need for these records is the same, and
demands an accelerated production schedule.


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Supp. 2d at 76. The very existence of the Freedom of Information Act is rooted in the self-

evident premise that transparency and disclosure are a public benefit in a participatory

democracy. U.S. Dep’t of Justice v. Reporters Comm. for Freedom of the Press, 489 U.S. 749,

772-73 (1989); see also Ctr. to Prevent Handgun Violence v. U.S. Dep’t of the Treasury, 49 F.

Supp. 2d 3, 5 (D.D.C. 1999) (“There is public benefit in the release of information that adds to

citizens’ knowledge” of government activities).

       But the public benefit of injunctive relief here extends far beyond the general public

interest in transparency and faithful adherence to FOIA. Congress enacted FOIA to ensure that

citizens are able to participate in public debate in an informed manner, and this interest grows

with the gravity of public decisions at hand. See Robbins Tire, 437 U.S. at 242 (“The basic

purpose of [the] FOIA is to ensure an informed citizenry, vital to the functioning of a democratic

society, needed to check against corruption and to hold the governors accountable to the

governed.”). There are few moments of public debate with urgency equal to that surrounding

selection of a new justice to serve on the nation’s highest court.

       Courts have recognized the importance of timely disclosure when information is relevant

to elections. See, e.g., Wash. Post, 459 F. Supp. 2d at 74-75. The public’s need is arguably

stronger in advance of a Supreme Court confirmation, because the public will not have an

opportunity to revisit this decision post-confirmation with the benefit of either hindsight or

belated disclosures. Congress and the Executive Branch comprise myriad individuals and face

regular elections that afford the public regular opportunities to affirm or disavow their actions

and to shape their priorities; while each election is significant, there are natural limits on the

effects of each individual election and frequent opportunities for the public to redress errors or

reverse course. Not so for the third branch of government. Vacancies on the Supreme Court are




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relatively rare, and lifetime appointments render the decisions on how to fill them all but

irrevocable.

        Although the public enjoys far less ability to influence its highest court than it wields

over the political branches, the Supreme Court, and each of its justices, exerts acute influence

over the day-to-day lives of the American public. As one of only nine justices on a court that has

been, of late, sharply divided, Judge Kavanaugh would be in a position to have significant impact

for a generation with regard to fundamental rights and equal protection of the laws and to exert

substantial, even dispositive, influence on resolution of cases guiding the relationship between

the branches of government and defining the limits of executive and legislative power. The

public has only one opportunity to assess his fitness for this august position and to convey its

views and concerns to the senators entrusted with weighing his nomination. A temporary

restraining order or preliminary injunction ensuring timely processing and disclosure of records

reflecting Judge Kavanaugh’s record of government service maximizes the public’s ability to

avail itself of that opportunity.

        Moreover, questions about Judge Kavanaugh’s background, the process by which he was

selected for nomination, and the unorthodox manner in which Senate leadership has fast-tracked

confirmation proceedings and obstructed a full review of Judge Kavanaugh’s record all raise

substantial concerns about the integrity of all three branches of government: the Executive

Branch that has advanced his nomination, the Legislative Branch that risks abdicating its

responsibility in favor of political expediency, and the Supreme Court, which could be tainted by

a truncated, partisan confirmation that leaves essential questions unanswered.13 The public has a



13
  See, e.g., What Are Republicans Hiding About Brett Kavanaugh, The New Republic, July 31,
2018, https://newrepublic.com/article/150301/republicans-hiding-brett-kavanaugh.


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vested interest in ensuring that the Senate and the American citizenry obtain all information

necessary for the confirmation process to unfold in an open, transparent, fair, and non-partisan

manner that preserves public confidence and reassures the public of its government’s integrity.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court grant a temporary

restraining order, or in the alternative, a preliminary injunction, requiring Defendants to process

their FOIA requests and produce all non-exempt responsive records and an index justifying the

withholding of any withheld records by such date as the Court deems appropriate.



Dated: September 17, 2018                             Respectfully submitted,

                                                      /s/ Elizabeth France
                                                      Elizabeth France
                                                      D.C. Bar No. 999851

                                                      /s/ John E. Bies
                                                      John E. Bies
                                                      D.C. Bar No. 483730

                                                      /s/ Austin R. Evers
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                                                      Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 17, 2018, I caused a copy of the foregoing
Memorandum in Support of Plaintiff’s Motion for a Temporary Restraining Order Preliminary
Injunction, including notice that the application was made at 12:15 PM, along with copies of the
Complaint and exhibits thereto, to be hand-delivered to defendants at the following addresses:

       U.S. NATIONAL ARCHIVES AND RECORDS ADMINISTRATION
       8601 Adelphi Rd.
       College Park, MD 20740

       U.S. CENTRAL INTELLIGENCE AGENCY
       Office of General Counsel
       1000 Colonial Farm Rd.
       McLean, VA 22101

In addition, a courtesy copy has been delivered to:

       Jessie K. Liu
       U.S. Attorney for the District of Columbia
       555 4th Street NW
       Washington, DC 20530


Dated: September 17, 2018                             /s/ Elizabeth France
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                                                      D.C. Bar No. 999851
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                                                      Counsel for Plaintiffs




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